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                                                       UNITED STATES DISTRICT COURT
                         16
                                                     CENTRAL DISTRICT OF CALIFORNIA
                         17
                                                                   WESTERN DIVISION
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                         19
                              OX LABS, INC.,                                Case No. 2:18-cv-05934-MWF-KS
                         20
                         21                           Plaintiff,            DEFENDANT BITPAY, INC.’S
                                                                            REPLY IN SUPPORT OF
                         22   vs.                                           MOTION FOR SUMMARY
                         23   BITPAY, INC. and Does 1-10,                   JUDGMENT
                         24
                                                      Defendants.           Date: Sept. 9, 2019
                         25                                                 Time: 10:00 AM
                                                                            Place: Hon. Michael S. Fitzgerald
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                          1          Defendant, BitPay, Inc. (“BitPay”) hereby files its Reply in Support of its
                          2   Motion for Summary Judgment, and states:
                          3   I.     INTRODUCTION
                          4          Plaintiff Ox Labs, Inc.’s (“Ox Labs”) Brief in Opposition actually supports
                          5   the basis for summary judgment. Ox Labs (i) cites case law that supports BitPay’s
                          6   position on the measure of damages, (ii) admits that it is not the real party in interest,
                          7   (iii) after being challenged since 2017 is still unable to cite law in support of its
                          8   position that it is entitled to a return of 200 bitcoin resulting from its own error; and
                          9   (iv) relies on a few purported facts that are irrelevant and lack evidentiary support.
                         10   Notably, Ox Labs takes no issue with the fact that the judgment it seeks will set a
                         11   precedent that investment firms and banks with fiduciary duties will have carte
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                         12   blanche to charge their customers for their own negligence. Ox Labs also makes an
                         13   incredible admission – that Ox Labs allegedly “knew” that 200 Bitcoins went
                         14   missing before BitPay notified it of the error, but did not investigate further or notify
                         15   BitPay. Instead, the record evidence is undisputed that BitPay brought the error to
                         16   SFOX’s attention.
                         17          Furthermore, Ox Labs presents no evidence of any wrongdoing by BitPay –
                         18   the error was by SFOX. Applying the case law cited by Ox Labs, it would be
                         19   manifestly unjust for the Court to award the relief Ox Labs seeks for its own
                         20   subsidiary’s error.
                         21          To be clear, SFOX did not give BitPay 200 bitcoin. SFOX made a ledger
                         22   entry crediting approximately $57,000 to BitPay, represented by 200 bitcoins. There
                         23   is no record evidence, just speculation at best, that BitPay actually received those
                         24   bitcoins. There remain no questions of fact to proceed to trial – as a matter of law,
                         25   the measure of damages is the value of SFOX’s credit at the time of its own error.
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                               BITPAY’S REPLY IN SUPPORT OF MOTION FOR     1                      Case No. 2:18-cv-05934-MWF-KS
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                          1   II.    REBUTTAL ARGUMENT
                          2          A.      It is Plaintiff That Seeks a Manifestly Unjust Remedy; As
                                             Well As A Dangerous Precedent.
                          3
                          4          After being challenged since 2017 to identify any legal support for the relief
                          5   Plaintiff seeks, Plaintiff is still unable to do so. Plaintiff’s sole legal argument that
                          6   it is entitled to a return of 200 bitcoin or its current value is the language in Cal.
                          7   Code. § 3336 (a) that allows a remedy in an amount sufficient to indemnify a party
                          8   for a loss that is the “reasonable” and proximate result of a “wrongful act” that “a
                          9   proper degree of prudence on his part would not have diverted.” Without any
                         10   competent evidentiary support, Ox Labs claims that it is entitled to seek this remedy.
                         11   In support, Ox Labs cites Myers v. Stephens, 233 Cal. App. 2d 104, 116 (1965) and
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                         12   Allstate Leasing Corp. v. Smith, 238 Cal. App. 2d 128 (1965). Ox Labs’ purported
                         13   legal support, however, actually further supports summary judgment.
                         14          First, there is no “wrongful” act alleged against BitPay. It is undisputed the
                         15   error was by SFOX, (Thobhani Decl. ¶ 4), there is no evidence BitPay knew of the
                         16   error, and it is admitted that BitPay brought the error to SFOX’s attention. (Thobhani
                         17   Decl. ¶ 5).
                         18          Second, Ox Labs admits that it noticed in late 2016 that its accounts were short
                         19   approximately 200 Bitcoins, and although it claims to have investigated (Thobhani
                         20   Decl. ¶ 4), it clearly did not. Indeed, BitPay, which did not make the error, was able
                         21   to find and give notice of the error. Furthermore, Thobhani’s email to BitPay on
                         22   March 22, 2017, contradicts his position regarding an investigation. Specifically,
                         23   Thobhani stated: “As a result of the transaction we have made quite a few changes
                         24   at SFOX (the subsidiary) and hired a new accounting firm to ensure this is never
                         25   repeated again.” In other words, SFOX had insufficient controls and perhaps should
                         26   be looking to its accounting firm. There is no evidence BitPay is in any way
                         27   responsible. The sole evidence is thus that a “proper degree of prudence” would have
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                               BITPAY’S REPLY IN SUPPORT OF MOTION FOR     2                     Case No. 2:18-cv-05934-MWF-KS
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                          1   averted the error. Simply put, Ox Labs or its accounting firm was negligent; there
                          2   are no facts or law to suggest that BitPay is responsible for SFOX’s negligence.
                          3          Third, BitPay offered to tender the proceeds from the sale of 200 bitcoins that
                          4   occurred on the same day as the error (Kunin Decl.), but Plaintiff refused, clearly in
                          5   hopes of not receiving a reasonable remedy, but to seek an unjust
                          6   enrichment/windfall that would create a dangerous precedent allowing investment
                          7   firms and banks to profit from their own errors by switching the risk of investment
                          8   to the recipient of the error.
                          9          Fourth, and an incredible admission, Thobhani attests: “We have no way of
                         10   knowing that BitPay sold the particular 200 coins in question (without our
                         11   permission) and how much money BitPay actually made from selling the over-
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                         12   credited Bitcoins.” In other words, by admission, Ox Labs is unable to present any
                         13   evidence as to what benefit BitPay ever received other than perhaps the money
                         14   already tendered. This also includes the inability to evidence that BitPay ever
                         15   benefitted from bitcoin cash or bitcoin gold traceable to SFOX’s error.
                         16          In sum, there is nothing arguably “reasonable” to support a judgment that
                         17   would unjustly enrich Ox Labs for its own subsidiary’s error.
                         18          Regarding case law, the remedy Ox Labs seeks would be manifestly unjust to
                         19   BitPay, as both sides admit it was Ox Labs that made the error. In Myers, cited by
                         20   Ox Labs, the Court awarded the plaintiff lost profits in a case where the defendant
                         21   intentionally sold a house to a third-party that he was contractually obligated to sell
                         22   to the plaintiff. The Court stated that “there must be some reasonable connection
                         23   between the act or omission of the defendant and the damage which the plaintiff has
                         24   suffered.” 233 Cal. App at 119. Here, there was no act or omission of BitPay. Ox
                         25   Labs may never have discovered the source of their crediting error had BitPay not
                         26   rightfully disclosed it to Ox Labs.
                         27          Ox Labs’ only other supporting case, Allstate Leasing Corp., does not even
                         28   reach the issue of the correct measure of damages. The Court simply vacated the
                               BITPAY’S REPLY IN SUPPORT OF MOTION FOR    3                     Case No. 2:18-cv-05934-MWF-KS
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                          1   judgment for lack of jurisdiction in the superior court and explicitly states “without
                          2   expressing an opinion on the proper amount of recovery” that the plaintiff had
                          3   properly pled a large enough amount of damages for the case to be jurisdictionally
                          4   valid in the superior court. 238 Cal. App. 2d at 133.
                          5          Yet, there are a multitude of cases supporting BitPay’s position. Specifically,
                          6   that it would be manifestly unjust to BitPay to award the current value of 200 bitcoins
                          7   to Ox Labs given the error was by Ox Labs, the ever-volatile and fluctuating value
                          8   of bitcoin, Ox Labs’ own negligence, and the lack of evidence of contrary to the fact
                          9   that BitPay sold 200 bitcoin for approximately $57,000. In Bank of Stockton v.
                         10   Verizon Comm’ns, Inc., the Court held that a bank failed to show damages beyond
                         11   the amount tendered to it when a state controller sold the bank’s shares. The Court
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                         12   stated “under California law, ‘[a] plaintiff has a duty to mitigate damages and cannot
                         13   recover losses it could have avoided through reasonable efforts’” and that “in light
                         14   of the windfall the Bank could have reaped as a result of the decline in the share
                         15   price after the State sold the stock, the district court properly rejected the Bank’s
                         16   claim for interest on that sum.” No. 09-15909, 2010 WL 1474053 (9th Cir. April
                         17   14, 2010) at *1 (emphasis added). The Court relies on Ox Labs’ cited case, Myers,
                         18   to note that “courts may decline to award the ‘value…at the time of conversion with
                         19   interest’ to avoid manifest injustice to the defendant.” Id. (emphasis added).
                         20   Similarly here, Ox Labs asks the Court to confer a huge windfall due to its own error,
                         21   despite having admitted to taking insufficient efforts to avoid the alleged damage in
                         22   the first place.
                         23          In Tyrone Pac. Int'l, Inc. v. MV Eurychili, the Court stated that even when
                         24   applying the alternative provision, the courts look to the value of the property as the
                         25   measure of damages, calculating it on a different basis only where justice demands.
                         26   Tyrone Pac. Int'l, Inc. v. MV Eurychili, 658 F.2d 664 (9th Cir. 1981) at 665-667. So
                         27   for instance, the Court stated that an alternative measure might be appropriate where
                         28   the owner has voluntarily accepted return of his property, but its value has declined
                               BITPAY’S REPLY IN SUPPORT OF MOTION FOR    4                     Case No. 2:18-cv-05934-MWF-KS
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                          1   as a result of the conversion. “In such a case, award of the full value of the property
                          2   would be unfair to the defendant.” Id. There is no factual dispute here between the
                          3   parties that the crediting error was not a result of any wrongdoing on the part of
                          4   BitPay. Ox Labs merely speculates that BitPay should have known or somehow
                          5   investigated the crediting error when it happened, which ignores the fact that it trades
                          6   hundreds of bitcoins a day. This is again switching the burden from the party making
                          7   the error to the party that did not make the error. Indeed, if BitPay was intentionally
                          8   attempting to conceal an inadvertent crediting error from the Ox Labs, there would
                          9   be no motivation for BitPay to notify Ox Labs of that error.
                         10          California courts have also stated that a plaintiff seeking recovery under the
                         11   alternative provision of the statute must plead and prove the existence of “special
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                         12   circumstances which require a different measure of damages to be applied.”
                         13   Krueger v. Bank of America, 145 Cal. App. 3d 204, 215 (1983) (quoting Betzer v.
                         14   Olney, 14 Cal. App. 2d 53, 61 (1936)). In Krueger, the Court found that the proper
                         15   amount of damages was the value of the shares at the time of the taking, and that the
                         16   plaintiff failed to establish the existence of special circumstances to invoke the
                         17   alternative provisions of Cal. Civ. Code § 3336.
                         18          In Dimick v. Donahue, the Court awarded the value of the plaintiff’s shares at
                         19   the date of conversion. 2006 WL 213990 (9th Cir. Jan. 30, 2006) at *1. Notably,
                         20   the Court stated that “absent compelling evidence of what [plaintiff] would have
                         21   done with his stock, it was not clearly erroneous to fix its worth as of the date of
                         22   conversion.” Id. Here, Ox Labs cannot provide evidence of the “investigation” it
                         23   undertook in 2016 when it allegedly discovered the loss of 200 bitcoins. If Ox Labs
                         24   took at least a year, if not two, to discover the missing bitcoins, it not surprising that
                         25   Ox Labs cannot provide any evidence of what it would have done with the bitcoins,
                         26   absent the error, to justify invoking the alternative provisions of § 3336.
                         27          In addition, even in cases involving tangible assets, such as gold, the Court
                         28   can simply take judicial notice of the value of that asset on the day it was converted.
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                          1   See, e.g., Stan Lee Trading, Inc. v. Holtz, 649 F. Supp. 577 (C.D. Cal. 1986), where
                          2   the Court took judicial notice, pursuant to Fed. R. Evid. 201, of the value of the gold
                          3   on the date of the conversion. In fact, the Court stated that “there can be no
                          4   reasonable dispute that there is an established market for gold worldwide and that
                          5   the daily price of gold in precious metal markets in New York and London are
                          6   published in various newspapers.” Id. at 582. Similarly today, the value of bitcoin
                          7   fluctuates daily, and there are established sources for determining that value.
                          8          Finally, even if a party may be excused from its own error (which BitPay does
                          9   not concede), the equitable remedy is to return the party that committed the mistake
                         10   to the position they would have been in, but-for the mistake. “It is now settled…that
                         11   money paid under a mistake of fact may be recovered back, however negligent the
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                         12   party paying may have been in making the mistake, unless the payment has caused
                         13   such a change in the position of the other party that it would be unjust to require
                         14   him to refund.” Midland Nat’l Life Ins. Co. v. Johnson, Case No. 11-CV-279-LAB-
                         15   BGS, 2014 WL 12515160 (S.D. Cal. Mar. 27, 2014) at *5 (quoting Sun ‘n Sand, Inc.
                         16   v. United California Bank, 21 Cal. 3d 671, 700 (1978)) (emphasis added).
                         17          In sum, case law does not support Ox Labs, but only BitPay. The only
                         18   equitable remedy here for SFOX’s own error is that it refunded the value of the 200
                         19   bitcoin that were traded that same day, which has already been tendered. Anything
                         20   in addition would be manifestly unjust to Defendant as well as set a dangerous
                         21   precedent condoning the potential negligence of the investment and banking systems
                         22   by shifting the risks of the errors to their clients.
                         23          B.     The Burden to Identify the Proper Party in Interest is not
                                            Defendant’s
                         24
                         25          Ox Labs attempts to reverse the burden of establishing that real party in
                         26   interest by arguing that (i) BitPay did not cite legal authority; and (ii) BitPay never
                         27   objected to Ox Labs’ role as plaintiff, and (iii) Ox Labs is the entity communicated
                         28   with regarding the dispute. These arguments are nonsensical and themselves lacking
                               BITPAY’S REPLY IN SUPPORT OF MOTION FOR 6                    Case No. 2:18-cv-05934-MWF-KS
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                          1    legal support. What Ox Labs paints as half-hearted arises from Ox Labs’ own
                          2    admission.
                          3           First, the issue is not whether or not BitPay cited legal authority; it is that Ox
                          4    Labs has admitted that the error was by its subsidiary, which is again admitted in the
                          5    paragraph 2 of Thobani Declaration. That is a fact, not an issue of legal authority.
                          6    Ox Labs has failed to state a claim.
                          7           Second, it is not BitPay’s burden to ensure the correct party has filed a lawsuit;
                          8    especially when the plaintiff admitted such fact in its own complaint. Stated another
                          9    way, this is not a situation where it is unclear which party made the credit error –
                         10    plaintiff itself admitted that its subsidiary made the error. There is no known legal
                         11    authority that defendant must highlight a party issue plaintiff highlighted
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                         12    themselves. Indeed, the Federal Rules are silent on raising an objection that the
                         13    plaintiff is not the real party in interest, nor do the rules indicate when the challenge
                         14    should be made. 6A Fed. Prac. & Proc. Civ. § 1554 (3d ed.), Raising an Objection
                         15    to Plaintiff’s Status as the Real Party in Interest. However, the California Courts
                         16    recognize that “[a]n action must be prosecuted in the name of the real party in
                         17    interest.” Malikyar v. Sramek, No. C 07-03533 WHA, 2008 WL 4891020 (N.D. Cal.
                         18    Nov. 12, 2008) at *3. In addition, “the courts will not allow a parent company to
                         19    pierce the corporate veil it created for its own benefit, so as to assert the claims of
                         20    its subsidiary.” Countrywide Fin. Corp. Mortgagebacked Sec. Litig. v. Bank of
                         21    America Corp., No. 2:11-ML-02265-MRP (MANx), 2014 WL 3529677 (C.D. Cal.
                         22    July 14, 2014) at *2.
                         23           Third, there is no known legal support, and none is cited by Ox Labs, that
                         24    because a parent engaged in communications about the error that it then becomes
                         25    the de facto owner of the claim. By analogy, if a president of a corporation engaged
                         26    in discussions about a legal issue, the president would not become the real party in
                         27    interest.
                         28
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                          1           C.      Statute of Limitations
                          2           BitPay has nothing further to add to its statute of limitations position, which
                          3    is still applicable, but it will not repeat its arguments here.
                          4    III.   CONCLUSION
                          5           For the reasons stated above, BitPay respectfully requests that the Court grant
                          6    BitPay’s Motion for Summary Judgment.
                          7
                          8
                          9    DATED: August 26, 2019                       RUSS, AUGUST & KABAT
                                                                            Benjamin T. Wang
                         10                                                 James Tsuei

                         11                                                 By: /s/ Benjamin T. Wang
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                          1                                CERTIFICATE OF SERVICE
                          2           I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                          3    and 5-4 that DEFENDANT BITPAY, INC.’S REPLY IN SUPPORT OF
                          4    MOTION FOR SUMMARY JUDGMENT was served upon the attorney(s) of
                          5    record for each party through the ECF system as identified on the Notice of
                          6    Electronic Filing on August 26, 2019.
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                         10                                               By: /s/ Benjamin T. Wang
                         11                                                   Benjamin T. Wang
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